418 F.2d 921
    UNITED STATES of America, Plaintiff,v.Billy Ray CARLISLE, Defendant-Appellant.
    No. 586-69.
    No. 587-69.
    United States Court of Appeals Tenth Circuit.
    January 5, 1970.
    
      Appeal from the United States District Court for the Western District of Oklahoma; Frederick A. Daugherty, Judge.
      Appellant has filed briefs in both cases.
      John O. Sparks, Asst. U. S. Atty., has filed a brief in Case No. 586-69 for plaintiff.
      Before LEWIS and SETH, Circuit Judges.
      PER CURIAM.
    
    
      1
      On review of the record in these cases and the briefs of the parties submitted under Rule 10, we conclude that the appellate issues presented are without merit and so insubstantial as to not require oral argument. The judgments are therefore affirmed for the reasons stated in the memorandum decision of the district court. 303 F.Supp. 627.
    
    